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                                                                                          FILED
                                                                               UNITED STATES DISTRICT COURT
                                                                                    DENVER, COLORADO
                                                                                         9:07 am, Jun 21, 2021

                                                                                 JEFFREY P. COLWELL, CLERK

                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO



Civil Action No.
                               (To be supplied by the court)

Alison D. Jones
                                                               , Plaintiff

v.

People Ready Inc./A TrueBlue Company
                                                               , Defendant(s).




                     EMPLOYMENT DISCRIMINATION COMPLAINT



                                              NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date; the full name of a person
known to be a minor; or a complete financial account number. A filing may include only: the
last four digits of a social security number; the year of an individual’s birth; a minor’s initials;
and the last four digits of a financial account number.



A.     PLAINTIFF INFORMATION
You must notify the court of any changes to your address where case-related papers may be
served by filing a notice of change of address. Failure to keep a current address on file with the
court may result in dismissal of your case.

   Alison D. Jones
 (Name and complete mailing address)

   1746 Emerson St. 209, Denver, CO 80218
 (720-539-4174 and petitpas1@msn.com)
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B.     DEFENDANT(S) INFORMATION
Please list the following information for each defendant listed in the caption of the complaint. If
more space is needed, use extra paper to provide the information requested. The additional
pages regarding defendants should be labeled “B. DEFENDANT(S) INFORMATION.”

 Defendant 1:     People Ready Inc., 1340 S. Sante Fe Dr., Suite 204, Denver, CO 80223
                   (Name and complete mailing address)

                  303-964-9350 and 1152-br@peopleready.com
                   (Telephone number and e-mail address if known)


 Defendant 2:     People Ready Inc. (Human Resources) c/o Collette Nelson-Hayward
                  1015 A St., Tacoma, WA 98402
                   (Name and complete mailing address)

                  253-680-8582 and cnelson-hayward@trueblue.com
                   (Telephone number and e-mail address if known)

C.      JURISDICTION
Identify the statutory authority that allows the court to consider your claim(s): (check all that
apply)

 X     Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et seq.
       (employment discrimination on the basis of race, color, religion, sex, or national origin)

 X     Americans with Disabilities Act, as amended, 42 U.S.C. §§ 12101, et seq. (employment
       discrimination on the basis of a disability)

 X     Age Discrimination in Employment Act, as amended, 29 U.S.C. §§ 621, et seq.
       (employment discrimination on the basis of age)

 X      Other: The Trafficking Victim’s Protection Act, The Colorado Off-Duty Lawful Activity
Statute, Public Policy, Department of Labor Regulations regarding non-payment of wages,
Wrongful Termination

D.      STATEMENT OF CLAIM(S)
State clearly and concisely every claim that you are asserting in this action and the specific facts
that support each claim. If additional space is needed to describe any claim or to assert
additional claims, use extra paper to continue that claim or to assert the additional claim(s).
Please indicate that additional paper is attached and label the additional pages regarding the
statement of claims as “D. STATEMENT OF CLAIMS.”
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CLAIM ONE: WRONGFUL TERMINATION: The Plaintiff was illegally terminated from her
employment after complaining to the manager Jax from the 1340 S. Sante Fe Dr., Denver branch,
for her failure to pay the Plaintiff for a job worked at the Courtyard Retirement Home in
Lakewood, Co. in April of 2020. This same manager, Jax, had a history of late or no payments
from other assignments as well, including various King Soopers assignments. Jax always had a
ready excuse for non-payment such as the paysheets had not been turned in, or they were not
filled out properly, or the picture was not clear. Ms. Jones took pictures of all the paysheets and
sent them via text message. They were clearly legible. Jax was simply finding excuses to
discriminate. Ms. Jones can produce copies of the submitted time sheets when required to do so.
People Ready had a history of failing to pay the Plaintiff for jobs worked. She reported numerous
cases to the Department of Labor Wage and Hour Division. Ms. Jones will also be able to
produce copies of the Department of Labor complaints using the Freedom of Information Act
when required.

The following is an exact excerpt from the complaint the Plaintiff submitted to the People Ready
Human Resources Department explaining what happened at the Courtyard Retirement Home that
led to wrongful termination:

“Most of the discrimination is coming out of the Denver, Co offices at 1340 S Sante Fe
(Hispanic manager Jax) and 1490 Lafayette St (Black manager Brent). The final straw came out
of the S Sante Fe office with Jax. The very last job I worked for People Ready was at 7100 W
13th, Lakewood, Co at the Courtyard Retirement Home. They sent us over there on April 11th
and 12th to feed the elderly residents who were in quarantine from the corona virus. I forgot to
bring my paper pay sheet on Saturday the 11th but the manager on duty assured me that it was no
problem. She would just add me to another employee’s pay sheet. Problem solved. I did
remember to bring it the next day, Sunday April 12th. I took a picture of the pay sheet and texted
it to 1152-br@peopleready.com, the email address Jax had given me. On Monday I had not been
paid for either shift. I called Jax to complain. She claimed she had never received either pay
sheet even though she had. She also said she could not process the Sunday pay sheet because one
of the corners was missing in the photograph. The upper right corner was indeed missing but all
the pertinent information such as store location, hours worked, and management signature were
clearly visible. I can send you the picture. (Please forward a copy of the email you initially sent
the branch with the work ticket) The missing corner made no difference. When I pointed this out
to her, she then reiterated that I had not sent it to the right email address. I did in fact send it to
1152-br@peopleready.com and additionally sent it to 1151-br@peopleready.com as an added
precaution because I had used that address many times in the past. So now what excuse did she
invent? She said she could not receive pay sheets by text. Oh really? I have sent hundreds of
them by text over the years. She is the first manager ever at People Ready who cannot receive
text messages. I finally had to send it by Gmail and finally got paid but only after arguing with
her on 15 calls. All I got were excuses, delays, foot-dragging. Rather than being professional and
solving the problem she was extremely rude. She yelled, consistently interrupted me when I was
trying to explain the situation, treated me like an idiot when I have two college degrees and 40
years in the work force (I am far more qualified to do her job than she is), wasted valuable time
giving information I did not need and already had, explaining the procedure when I have used
this procedure for over 10 years, condescended in every way imaginable, implying that I was
incompetent when in fact she was incompetent and so on. She was even more condescending
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when I went to her office in person for a drug test, scolding me like a small child for not taking
the test correctly and then for touching something on the counter. I sanitized with sanitizer
solution as soon as I waked in full view of Jax. I have passed every drug test I have ever taken by
the way.

I mentioned in one of these calls that I would contact the Courtyard and just have them fax the
Saturday pay sheet over. She refused to give me the number even though that information is
readily available in their computer system. More excuses. Her take was that if the picture I had
sent her of the Sunday shift had been legible I would be able to see the number and call them
myself. I checked the photograph, could clearly see the phone number, called the Courtyard
myself and finally had them fax over the Saturday pay sheet. She lied and made excuses
throughout this whole process. Excuse after excuse as to why she could not just do her job and
pay me. This was not the only time she had done this. I have frequently had to call People Ready
over the years and complain and argue to get paid. I had to call Jax repeatedly from the 101
Englewood King Soopers location to get paid in a timely fashion only to get the same rude and
obnoxious attitude I got with the Courtyard job. I have had to file at least 3 wage and hour
complaints over the years with the Department of Labor to get paid and should have filed more.
It once took me 3 months to get paid for a construction clean-up job in Highlands Ranch, Co. We
are now forced to take pictures of all time sheets because we can’t trust them to pay us or to pay
us on time.”

Please note that every manager in this scenario, both at People Ready and the Courtyard
Retirement Home, were either Hispanic or Black and the Plaintiff is White. No other Hispanic
or Black workers were similarly treated, only the White worker. They did things like this on
purpose and had been doing things like this for years. It was motivated by a vigilante justice
mentality that thinks they have the right “pay back the White man for all he has done to us.”

CLAIM TWO: RACIAL/ETHNIC/SEXUAL DISCRIMINATION/UNFAVORABLE
TREATMENT BASED ON RACE/ETHNICITY/SEX: People Ready had a history of allowing
the Plaintiff to be harassed on assignments over the years because of her race, ethnicity, age, and
gender. Even when the harassment was reported or when management or other staff were
witnesses to the fact, no corrective action was ever taken. The Plaintiff was unfairly and
discriminatorily removed from jobs because of racial, ethnic, and sexual stereotypes, and because
of racial, ethnic, and sexual harassment. In the vast majority of these examples, the harasser or
discriminator was a minority-Muslim, Black, or Hispanic. The victim, the Plaintiff Ms. Alison D.
Jones, is White. Our society has no problem recognizing discrimination against non-White
minorities, but simply will not face the reality of discrimination against the White majority.
History offers no justification for this double standard. Blacks lived in slavery in the United
States, but so did the indentured Irish, Native Americans, and any other ethnic mix they could
enslave. The Spanish Conquistadors were among the worst slavers in the Americas, but
Hispanics are given special protection under American civil rights law simply because they are a
minority. While millions of Whites were sold into slavery in the American colonies and
elsewhere, White people have virtually no civil rights protections simply because they are a
majority. Current American civil rights law gives no consideration to the fact that there are
hundreds of thousands, if not millions, of people living in some form of slavery in the United
States today, and this modern-day slavery has no racial, ethnic, gender, age, or social class
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boundaries. ALL are affected. This lawsuit attempts to correct that disparity. Much of the
harassment Ms. Jones experienced was retaliatory-a misguided retribution based on the
assumption that the Plaintiff was somehow responsible for societies’ past evils or present-day
inequalities just because of the color of her skin or her place of ethnic origin-the American South.
The general reasoning is that “Well, that’s what you did to them. Now it’s your turn.” This
explains the number of times Ms. Jones was called a “Nigger” on various People Ready
assignments while the management just laughed it off and took no corrective action. It explains
why management tolerated this type of treatment against her but would not tolerate it against any
other race or ethnic group. It explains why the Plaintiff was repeatedly passed over for
promotions, higher paying jobs, tipped jobs, not allowed to participate in tip pools, and passed
over for the best job assignments in favor of minorities, despite her superior qualifications.
Sometimes she did not even get paid. It explains why other employees, usually Hispanic,
continuously threw the sins of the past in Ms. Jones face while on the job, expecting her to
simmer in guilt for something over which she had no control. The guilty parties found an easy
scapegoat for their racial and ethnic frustrations in Ms. Jones. This mentality affected Ms. Jones
in all aspects of her life, both personal and professional. American culture is so saturated with the
concept of punishing innocent parties for past social injustices that it permeates everything in
society, no matter how insignificant. This concept is preached at every bus stop, on the front page
of every newspaper, in every television show, film, or radio program. It is shouted in grocery
store aisles and laundromats, restaurants, and parks. It is preached from pulpits and classrooms.
Like the caricature of a powerful communist dictator, it glares down on you like Big Brother
everywhere you go, daring anyone to defy it. Anyone who is “not with the pogrom” is destroyed.
Ms. Jones will make frequent references to events that occurred off the job to demonstrate this
saturation and how it has so permeated the workplace that going to work is like walking into a
communist revolution. People are no longer concerned about who does the best job or performs
the highest quality work. The workplace today is almost completely governed by identity politics.
Actual work performance is irrelevant. Raises and promotions do not go the best or most
deserving worker, but to whomever can whine the loudest and claim the greatest victim status.
Many ethnic minorities embrace this change. In all of the examples listed below, no ethnic
minorities were similarly treated whether Muslim, Black, Hispanic, or non-White immigrant. This
treatment was reserved strictly for Ms. Jones because she is White and never corrected because
she is White. Muslims are not expected to pay for the slaughters committed by Islamic Jihadists
forcing the infidels to convert to Islam. Blacks are not expected to pay for the genocides
committed in Rwanda, the ongoing slavery in Nigeria, or the atrocities committed by dictators
such as Idi Amin. Hispanics are not expected to compensate victims of the Spanish
conquistadors. Only WHITE people are expected to make reparation for past social injustices,
even if they did not participate in those injustices, were not alive during those injustices, were
themselves the victims of the same injustices, or for that matter, waged war to correct those
injustices. Only WHITE people are expected to take a back seat to everyone else because of the
crimes of their ancestors. Other races and ethnic groups are not expected to do that. This is
relevant to the workplace because deserving White people are being held back by minority
preferential treatment programs such as affirmative action.

EXAMPLES:
1. As mentioned earlier in this complaint, the Plaintiff was once married to a practicing Muslim
   from the Middle East. In many Islamic cultures, the men retain authority over their wives for
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   life, even if they are divorced. While a man may divorce and remarry, a woman commits
   adultery if she does the same. Traditions will vary by region, but Islamic society is definitely
   male dominated. Many Muslim societies do not approve of women working outside the
   home. A moral woman will marry instead. People from the Plaintiff’s Islamic past have
   frequently stalked her at her various job sites and may have cost her some of those jobs. They
   are usually accompanied by Blacks. For ease of reference, we will call them the race team.
   While showing up at a job site is not proof of discrimination in and of itself, it is uncanny how
   quickly the job atmosphere and working conditions became unbearable shortly after the race
   team visits with her various management teams. This happened so frequently that the Plaintiff
   came to expect it. The “meeting” took place at Qwest Communications prior to her leaving
   that job. She was earning an excellent income until the race team showed up and held a
   meeting with her office manager. Then her job suddenly became unbearable. She was
   micromanaged to insanity. She eventually resigned. The race team also showed up at Globus
   and Cosmos and held the “meeting” with her office manager there in full view of the Plaintiff.
   Ms. Jones had worked extremely hard to get through three years of Hospitality, Tourism and
   Events training at Metropolitan State University of Denver for the sole purpose of getting a
   job with this, her dream company. She was incredibly happy at Globus and planned to retire
   there. She had a wonderfully intelligent boss with an incredibly sophisticated sense of humor.
   Her co-workers were delightfully funny and entertaining. She was selling what she loves
   most-international travel. But after the race team showed up, she was soon compelled to
   resign due to an unbearable change in management policies. They showed up again at her
   Good Sam job in the Denver Tech Center (hired by Randstad Staffing) but by that time, she
   had notified the FBI, and it quickly came to an end. That did not stop them, however. Sure
   enough, they showed up at her LKQ Body Parts job (assigned by People Ready) and created a
   scene just before she was asked not to return to that job. The White male employees who
   were permanent employees of that business attempted to entertain Ms. Jones with stories of
   prostitutes who had been brutally murdered in cheap hotels nearby, implying that she would
   soon share the same fate. Apparently, somebody at that job site had been spreading the false
   rumor that Ms. Jones was selling sexual favors. Nothing could be farther from the truth. Ms.
   Jones was stalked in the convenience store next to LKQ and viciously screamed at by a Black
   man with whom she had served in the US Army for taking too many condiments off the
   condiment rack. What was the Army doing there? The Plaintiff is not sure, but at least she is
   still alive. The hate and vindictiveness of these racial hate panderers has no end. We
   respectfully ask the court to end it so the Plaintiff can live a normal, productive, and
   prosperous life. Forced marriage and forced personal relationships are a form of
   TRAFFICKING! Nobody has the right to tell anyone whom to marry or with whom to have
   sexual relations.

   2. The Hispanic manager at the Westminster People Ready store refused to send Ms. Jones to
      a recycling plant in 2019 because “the work was too dirty for a woman”. While she may
      have been well-meaning, assigning jobs based on sex or gender is discriminatory. Ms.
      Jones must wonder if the race team had contacted the Westminster location and talked the
      manager out of that job assignment.

   3. Ms. Jones had to be escorted by undercover law enforcement to her warehouse job in
      Aurora (assigned by Randstad Staffing) because she was being threatened by Black male
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      passengers on the A train and the 42 connecting bus on her way to work. They were
      yelling in her face that they would punch her if she showed them any “disrespect”. Some
      of the Black males had apparently served in the military because they were bragging about
      the White Officers they had wiped out in Iraq. Several days later the Plaintiff identified a
      White male Army sergeant who was her AIT instructor at Ft. Benjamin Harrison guarding
      her at the Peoria Light Rail Station on her way home from work. The race obsessing had
      become sufficiently life threatening at this point that the Plaintiff could not safely go to
      work.

   4. Somebody was actually shot in their car very early one snowy morning at the intersection
      of Montview and Peoria on her way to this same job assignment. The Muslims were there
      that day en masse, stalking the Plaintiff at the bus stop. Their purpose for being there is
      unknown. She was removed from that job shortly thereafter. While this job was not with
      People Ready, but another staffing firm, it is typical of the kind of harassment that follows
      Ms. Jones from job to job along with the “race team”. She has frequently experienced this
      same type of harassment on People Ready assignments.

   5. Many years prior to these incidents, People Ready assigned Ms. Jones to work in a
      desperately understaffed Wal-Mart in Evergreen. The People Ready office at 1340 S.
      Sante Fe provided transportation to this job site. The driver of the employee shuttle was a
      young Black man named Andre. He was likeable enough, but he had an unbelievably bad
      habit of getting stoned before he drove the workers up the mountain. He also liked to
      sexually proposition the women and offer them marijuana on the ride. Not good. Many
      of the female workers did not return. They were afraid of him. On one of these occasions,
      Andre dropped off a group of racially diverse workers. The manager of this Wal-Mart
      was a gray-haired gentleman in a wheelchair who seemed nice at first but quickly became
      a tyrant. He refused to let any of the other workers speak to Ms. Jones and would not let
      them crack jokes in her presence, even harmless jokes. He actually sent one of them home
      for three days for violating this order. One of the workers was a large Black man who
      continuously called Ms. Jones a “Nigger” within full earshot of this same manager but was
      not reprimanded. Instead, the manger sent Ms. Jones to the upstairs storage facility in the
      back of the store and made her sweep the entire enormous warehouse area all by herself
      for the remainder of the shift. Then she was then asked not to return to that job.
      (Tragically, one of Wal-Marts’ Vietnamese workers died in a car crash right outside that
      Wal-Mart on I-70 on his way to work that morning during shift change. Tragedy seems to
      follow the Plaintiff wherever she goes.) On the ride home, this same worker continued to
      call Ms. Jones a “Nigger” much to great laughter from everyone else in the car. As for the
      fate of Andre, Ms. Jones mailed an anonymous complaint to the People Ready Human
      Resources department regarding Andre’s dangerous behavior, and he was eventually fired.
      That action probably saved lives.

   6. Many years ago, People Ready assigned Ms. Jones to work a Wal-Mart in Castle Rock.
      These shifts were fairly uneventful until Ms. Jones was placed on break in the smoking
      section just outside the front entrance of the store. A mob of young Black men soon
      joined her and began the “Nigger” tirade, thinking that they were getting even with the
      nasty little White woman from the South who had kept them down all those many
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      centuries. Ms. Jones did report this to management and one of the managers was even
      within earshot, but predictably, no one was ever reprimanded. Of course, if the situation
      had been reversed and Ms. Jones had called them a “Nigger”, she would have been forced
      to pay them restitution for life, it would have made the front page of the Denver Post, and
      Ms. Jones would have been blackballed in the entire state of Colorado, never to work
      again. This double standard for racial behaviors was not only tolerated but sometimes
      even encouraged by both the management and staff of People Ready. They seemed to
      delight in the “racial justice” of it all, humiliating and degrading the poor little White girl
      from the South whose own Irish ancestors were sold into slavery in the American colonies
      and all over the world, but no one was ever taught that in school, so it does not matter. Not
      only did the management at Wal-Mart not correct the behavior, but they claimed that Ms.
      Jones had taken 2 minutes while not on break to try on a pair of pants in the dressing room
      and was permanently barred from working in any Wal-Mart in the state of Colorado
      forever thereafter. Unequal treatment based on race can be a real drag.

   7. Ms. Jones was like the runt of the litter at People Ready whom everyone else liked to pick
      on. If repeatedly calling her a “Nigger” at work with no consequence was not enough fun,
      let us accuse her of alcoholism. Then we can really screw up her employment. Ms. Jones
      suffers from both insomnia and post-traumatic stress disorder due to the violent conditions
      she endured in public housing. She was nearly killed several times. If not for law
      enforcement, Ms. Jones would now be dead. As a result, she has two drinks before going
      to bed at night as a sleep aid with the full blessing of her doctor. She is not an alcoholic,
      and two drinks is not unhealthy, but well-meaning busybodies always seem to know
      what’s best for everyone else. People who have worked with Ms. Jones at People Ready
      know her personal habits. How many times have People Ready temps lectured her about
      the evils of alcoholism when they are themselves alcoholics and frequently drug abusers?
      Once again, Ms. Jones is not an alcoholic and at age 58 does not need permission to have
      a nightcap. People Ready managers and staff have often been overly protective of Ms.
      Jones or assigned her to jobs below her ability because they believe people her age cannot
      perform the job, oftentimes trying to do her job for her. She is also not a drug user, not
      even marijuana. Things at Coors Field get slow and People Ready staff like to gossip and
      find fault with other workers to keep themselves entertained. The Colorado Lawful Off-
      Duty Activity Statute, sometimes called the “Lifestyle Protection Act”, protects workers
      from adverse employment decisions based on lawful off-duty activities. Having two
      drinks before bedtime is a lawful off-duty activity so why do People Ready employees
      need to concern themselves with it? Furthermore, why do they have to spread these
      vicious rumors to management unless their motive is strictly malicious? This law has
      been used to protect gay people, religious people, people with unpopular political
      affiliations, smokers, and many other behaviors the self-righteous of the world find
      unacceptable. These types of people should be notified that they EMPLOY their workers;
      they do not OWN their workers. Employers have no legal right to manage the personal
      lives or personal lifestyles of their employees.

   8. The racial harassment sometimes became so bad on People Ready assignments that Ms.
      Jones was assigned an undercover security agent. Ms. Jones was not aware that she was
      working with undercover security until she was herself assigned to work the security
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      entrance at the Sports Authority Field wanding incoming sports fans. She was working
      next to a person of Italian descent who was making extremely lewd and sexually
      demeaning comments about White women. It could have turned violent but for the
      intervention of a plainclothes security guard who stepped up to the plate and contained the
      situation. She was a powerful female who was extremely well-trained and could easily
      subdue most men. She had learned her trade guarding celebrities in Hollywood. She
      showed Ms. Jones some easy maneuvers to use in self-defense. This same security guard
      was assigned to Ms. Jones at public festivals near Coors Field and other outdoor public
      events staffed by People Ready while she worked gate security. Apparently, People
      Ready or their client saw Ms. Jones in real danger. Could People Ready possibly NOT
      have known this was going on? They had to pay the Plaintiff for the job and then
      somebody had to pay undercover security on top of that to protect her from racially
      motivated hate attacks while on that job. It must have been awfully expensive to employ
      Ms. Jones. Race obsessing has reached epidemic proportions in the United States to the
      extent that certain Caucasian groups are simply not safe anymore. Some people will
      become violent if they falsely perceive racism or any type of separation of the races.
      (Look at BLM and Antifa.) Ms. Jones and undercover law enforcement would meet again
      when she gained a full-time job in the casinos. She experienced violent harassment. The
      Black male employees in the casino loved to call her a “Nigger” and scream “body bag
      and toe tag” while she busily scrubbed heavy pots and pans in the dish pit. “Fire in the
      hole!” was also a popular expression used by the Black male staff to further intimidate and
      humiliate the victim. These may have been military personnel. These are military phrases.
      Some of them even pulled knives. One of the Black stewards liked to sarcastically ask her
      if the work was too hard and did she need some rest. He had been an officer with the
      Denver Sheriff’s Department. You would expect better behavior from him. The
      harassment became so severe and pervasive that Monarch had to hire an undercover
      security guard to manage the dish room for Ms. Jones’ protection and that of other
      employees who were being constantly threatened by these people. The parties involved
      were eventually terminated, but the Monarch took an unusually long time to do it and only
      after worker morale had been completely destroyed. Ms. Jones cannot recall if she
      obtained her job with the Monarch Casino through People Ready, but the way she was
      treated there is exemplary of the type of racial harassment she experienced both on and off
      People Ready jobs. Ms. Jones was terrorized on the casino shuttle ride back to Denver at
      the end of her shift, forced to listen to Hispanic gang members brag about murders they
      had committed on home robberies, and was physically threatened by Black male
      employees who claimed she was “disrespecting” them. She had not said a single word to
      any of them. The racial profilers of the world are doing a great disservice to Ms. Jones
      when they expect her to be the sweet, self-effacing, ever self-sacrificing Ms. Milly of
      Twelve Oaks. Ms. Jones is not Ms. Milly. Ms. Jones is not a Stepford wife. Ms. Jones
      does not appreciate racial profilers bringing their plantation drama to her job assignments.
      Ms. Jones is an honorably discharged veteran of the United States Army. She drove an
      18-wheeler cross country-alone. She survived gang wars in the ghettos of Denver. She
      has attended 10 major universities all over the United States and abroad, programmed
      computers, assisted the military in weapons design, and is extremely computer literate.
      She has over 40 years’ experience in the work force. She is extremely tired of the
      stereotyped straight jacket profile they expect her to live up to of the delicate, pristine
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      Southern belle. These people hate ALL things White and Southern, but the thing they hate
      most is the image of the pristine and gracious White Southern lady. They will do
      ANYTHING to tarnish this image. They have tried to force the Plaintiff to use drugs
      against her will, convince her to get tacky tattoos needled all over her body, attempted to
      force her to date men outside of her own ethnic group. There is nothing wrong with
      dating outside of your own racial or ethnic group if it is a VOLUNTARY action. Anything
      less is TRAFFICKING. Like former slaves, they believe she has some mysterious power
      over them that she simply does not possess and hold her responsible for every aspect of
      their lives. The Black Ethiopian minister, Reverend Matthew Ashimolowo, made a
      comment in his famous book “What is Wrong with Being Black”, that Black Americans
      are killing their own cause by thinking and behaving like slaves. He is right. They feel
      enormously threatened by any attempt on the Plaintiff’s part to return to her own heritage.
      They have cut her off from any social interaction with people in her own racial, ethnic,
      religious, or cultural group. Traffickers divide and conquer, humiliate, and degrade. They
      use fear and intimidation to beat their victims into obedience. She is ever weary of the
      condescending depictions of the South like the ones she had to endure while working at
      the Mardi Gras Casino in Black Hawk. She was assigned to a ridiculous manager who
      loved to play an overly exaggerated, syrupy sweet rendition of the dumb but ever faithful
      Southern lady, with 15 children and a Confederate thick Southern accent. She has had
      more than enough of brainwashed useful idiots like the ones at the Mardi Gras Casino who
      blamed her for KKK lynching’s while she was making sandwiches behind the deli
      counter. The never ending unjustified “superiority” these people think they have is
      nauseating to the Plaintiff. They are no better than anyone else. Slavery is a heinous
      crime that was suffered by all races and ethnic groups and practiced in all parts of the
      United States and foreign nations. No people or culture are exclusively responsible for
      slavery. They are ALL guilty. ALL races, ethnic groups, and civilizations have been both
      perpetrators and victims of slavery at some point in their history. There were Black slave
      owners in the South and White slaves. Read the stories of Anthony Johnson, Antione
      DuBuclet, and William Ellison-Black men in the South who made a fortune from slavery
      and rivaled the cruelty and exploitation of their White counterparts. The real story must
      be told. Our society cannot survive the constant race baiting and division. These types of
      racial attacks infuriate the Plaintiff, exacerbate her PTSD, and contribute to poor mental
      health, not to mention interfere with her ability to competently perform the functions of
      her job.

   9. The Plaintiff was removed from fully six job assignments at People Ready just in April of
      2020 alone, losing in excess of $5,000 in wages. She was removed from 5 King Soopers
      assignments that were paying overtime, and then the LKQ Auto Parts assignment. It
      always followed the same pattern. Ms. Jones was stalked and harassed either on her way
      to a job site, at the job site, or returning from the job site by either a group of Muslims,
      Blacks, Hispanics, or a combination thereof. Many of them had served in the Armed
      Forces. At this point it becomes important to understand the overall context of the life that
      Ms. Jones was living at the time. She had been surrounded by violent gang wars in the
      projects, most of which were motivated by racial or ethnic rivalries. She did not do
      anything to these people to encourage or cause this behavior. She simply lived in a violent
      area that was hostile to White people. She was not liked in the projects because she
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      refused to adopt their drug infested lifestyle or to personally associate with them in any
      way. Many of these people have truly little if anything in terms of material value or
      education, so respect becomes all the more important to them. It gives them a sense of
      value. If someone in the ghetto accuses you of “disrespecting” them, you, or someone you
      know can expect a violent beating or even murder in the near future. Being accused of
      “disrespecting” someone is a very strong warning. You never know what is going to set
      them off because anything can be disrespectful-wearing the wrong color shirt, not
      conceding your parking space, not inviting them into your home, criticizing anything
      about their mode of life or culture, even if it is true and you can prove it, thinking you are
      better than them in any way, failing to understand their social etiquette rituals. Ms. Jones
      was almost murdered after taking a parking space that one of them had just left. She chose
      that spot because it had no snow. The gang members’ car had been parked there during the
      snowstorm. The girlfriend came over to the Plaintiff’s apartment and threatened to shoot
      her with a 9mm if she did not move her truck from “THEIR” parking space. Ms. Jones
      refused to move her truck because it was a public street and no one in that complex had
      exclusive rights to the use of that parking space. The police were called and sided with
      Ms. Jones, but she was almost killed that day. Are you beginning to understand the
      ghetto? Are you beginning to understand why it is so very dangerous to force White
      people to live in this environment? If only the Lilly White privileged elite who have never
      even driven through a ghetto knew what they were doing to the poor White people they
      forced to live in one, we might have a chance. They are getting us killed. In the ghetto
      world, White people are the enemy. Nothing you can do will change that. The American
      insistence on total racial integration can often be life threatening for White people, so
      much blame and animosity is directed at them in our society. If you make more money or
      have a superior education, better keep it to yourself. You must always downplay your
      accomplishments or face attack. Remember, in ghetto culture, White people do not earn
      anything. They have what they have solely due to “racial privilege”. Many of these people
      who stalked Ms. Jones at work had stalked her in the projects. She lived under the Denver
      Police Departments’ gang unit protection services for six months. Law enforcement had to
      escort her everywhere she went-to the grocery store, to work, to school and everywhere
      else. Some of tormentors were gang members, some were People Ready employees or
      employees of the client, but the harassment was always either racially, ethnically, or
      sexually motivated. People Ready itself was infested with gang members. That is how
      the Plaintiff learned about the job-through gang members living in the projects. They liked
      the daily work/daily pay aspects of employment with People Ready and the fact that they
      could pick and choose their own jobs and make their own schedules. Ms. Jones was
      stalked at a King Soopers store in Northglenn by a Hispanic gang in April of 2020. They
      followed her to the job and were still there at the bus stop when she got off work. They
      did not threaten her on that occasion but the fact that they were even there seriously
      disturbed Ms. Jones. She was asked not to return to that job the very next day. The
      conversation in the break room on this assignment centered around what happened to a
      group of White people who used a gun in self-defense after being attacked by a Hispanic
      mob. The story was not a happy one. The White guys involved were charged with
      trumped up offenses and sent to jail when they were only protecting themselves. These
      gangs know how to work the system, having so long been a part of it. The message was
      clear. Do not think you have any right to defend yourself from a Hispanic mob if you are
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      White. Racial and ethnic identity are not that important to people outside of ghetto culture.
      Their world does not center around it. In ghetto culture, it is EVERYTHING! Ghetto
      dwellers are on a holy jihad for racial justice against the great White oppressor in the sky
      and anyone who opposes them or gets in their way will be destroyed. Even if you live in
      exactly the same way they do but you are White, you are still guilty as charged. Do not
      think you have any privacy from them. They are very observant and know everything you
      do. Nothing will go unnoticed. Ms. Jones lost her dream job at Globus and Cosmos at
      least in part because of gang members and ethnic rivals from the projects stalking and bad
      mouthing her on that job. If you are White, you cannot go anywhere they can’t go, can’t
      do anything they can’t do, earn any money they can’t earn, socialize with anyone they
      can’t socialize with, can’t accomplish anything they can’t accomplish, can’t work
      anywhere they can’t work, can’t spend any money they can’t spend, can’t live anywhere
      they can’t live, can’t travel anywhere they can’t travel, because if you do, that makes you
      a RACIST! EVERYTHING in their world is about race and ethnicity. Why should this
      kind of treatment surprise anyone? We see it in the news every day. How many careers
      and lives have been destroyed by accusations of racism, sexism, xenophobia, homophobia,
      White Supremacy, Jim Crow, or the myriads of other methods and strategies they use to
      have TOTAL control over White people? (Remember, trafficking is about control). In all
      fairness, not everyone in the projects is a racist. Ms. Jones befriended a Chicano former
      gang member and learned a lot about the culture from him. The Hispanic church group
      across the street from Ms. Jones’ apartment on King St. were exceptionally nice and
      welcoming people. She enjoyed hearing the beautiful Spanish hymns coming out of their
      church on Sundays. Yet, the gangs and racial justice warriors so totally dominated this
      culture that the kindness and decency of the good people went unnoticed. It is a shame.

   10. No one wants to fight the Civil War every time they clock in for work. As Ms. Jones
       mentioned before, she was stalked going to the job, working the job, returning from the
       job. These groups were usually either Muslim, Black or Hispanic but could also include
       White people or other ethnic groups. Their goal was always the same. To find some way
       to harass, intimidate, and punish the Plaintiff for being White. Black people use the
       expression “Driving while Black.” White people should use the expression “Working
       while White.”. She worked at job at the Aurora Event Center on Wadsworth Blvd. during
       which one of the Black male co-workers repeatedly called her a “Nigger” within earshot
       of the management but was never reprimanded. Ms. Jones had to contact his employment
       agency to file a racial harassment charge on him. At the end of this shift, Ms. Jones
       walked to the bus stop immediately in front of the building to get home. She was
       followed by one of the Hispanic temps. This woman had deliberately followed her outside
       to throw the topic of slavery in her face. Ms. Jones had to sit at the bus stop for nearly an
       hour explaining the history of the Irish slave trade in the British colonies, the modern-day
       slavery in all countries in the world that is worse now than at any time in history, that
       California has the highest trafficking rate of all states in the United States, far more than
       Southern states. She had to explain the history of Mongol, Islamic and European slave
       raids on the White Slavic nations of Eastern Europe that were so massive in scope that the
       very name slavery is derived from them. She talked about the forced prostitution that took
       root in these same nations after the collapse of the Soviet Union. She pointed out the role
       the Spanish Conquistadors played in the enslavement and genocide of the Native
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      American indigenous populations in the Spanish colonies. Every day is a never-ending
      struggle to convince these profilers that White people were never exempted from the
      horrors of slavery and genocide, that the concept of White privilege and White supremacy
      preached in American schools is not entirely accurate. It leaves out the suffering of White
      populations altogether. The Hispanic temp was shocked that a White person would
      challenge her. She had probably never been challenged before, but the profiling and
      finger pointing has cost the Plaintiff an enormous amount of money, caused her an
      enormous amount of anguish and grief, nearly gotten her killed, and it must end.

   11. The Plaintiff was assigned to provide sanitation at a King Soopers on Hampden Ave.
       during the COVID-19 epidemic. This time the race team was entirely Black and began
       harassing Ms. Jones as soon as she got off the bus. They began to direct comments at her
       such as “You will finally be my princess”, or “I will so love you”, implying that she was
       expected to be in a sexual relationship with them at some point. Their companions came
       into the store and caused a scene. The police were called. One patrol car had to stand
       guard in the parking lot her entire shift. She was asked not to return. She had done an
       excellent job at these locations, praised by both management and customers alike, but as
       soon as the race team showed up, these jobs dematerialized. She was not only cut from
       the Englewood King Soopers store after this incident but cut from all King Soopers stores.
       She has lost a small fortune this way. They want to blame her from some imaginary racial
       crime she did not commit.


   12. The workplace today has become a civil rights podium-a place to right past wrongs and
       point out to “privileged majorities” the evils of their ways. One of the last jobs Ms. Jones
       worked before the COVID-19 outbreak was at the Pepsi Center doing stage breakdown for
       the Oprah Winfrey Weight Watcher’s seminar. The other People Ready staffers were
       particularly obnoxious on this job, barking at her like a dog to get out of the chair when
       she sat down to wait for the shift to start. She was assigned to break down equipment in
       the hallways after the show and pack them in shipping containers. Her partner on this job
       claimed to be from South Africa and spent the entire shift explaining the evils of White
       government there. One of the black male employees handed her an electric cord, told her
       to coil it up and store it, grabbed it from her when he was not satisfied with how she did it,
       and rolled his eyes at her like she was a total idiot. She moved on trying to find something
       else to do and even asked several managers what else needed to be done. The trucks had
       not been fully loaded yet, but rather than give her something else to do, they sent her
       home. The black male had expressed his dissatisfaction with her intelligence level. No
       other employees assigned to that job were similarly treated. The remainder of them were
       allowed to complete the shift. While this is a small example, Ms. Jones frequently
       experienced this type of condescension on job assignments at People Ready. Despite many
       years of specialized education at a university level and decades of experience, Ms. Jones
       was never allowed to assume any responsibility. She was continuously assigned to the
       most menial tasks and the lowest paid jobs People Ready had available-dishwashing,
       cleaning up garbage after concerts and sporting events, changing trash can liners,
       construction cleanup. Minorities who did not have even half the education and experience
       she did were given far better jobs. Ms. Jones cannot recall ever working under a White
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      manager who was employed by People Ready. She was never allowed to make even the
      smallest decision as to how she would perform a job, but was intensely micromanaged,
      even to the point of being told how to fill a mop bucket or how to wrap cellophane on a
      salad dressing bowl. She had thousands of hours performing these type tasks. Ms. Jones
      has worked in some of the finest restaurants, hotels, and casinos in the country, including
      the El Tovar restaurant in the Grand Canyon, the 5-star Lake Hotel in Yellowstone
      National Park, the Colorado Convention Center, the Ameristar and Monarch Casinos in
      Blackhawk, and Globus and Cosmos, the world’s largest tour operator. For that matter,
      she has a degree in Hospitality, Tourism, and Events from the Metropolitan State
      University of Denver, something which none of the managers at People Ready could
      claim. Most of them had no education past high school. Yet, she was expected to kowtow
      to them just because of her race, quickly shot down if expressing any opinion or offering
      any suggestions as how to better perform a job. Many of them later benefited from those
      same suggestions by claiming them as their own. On one assignment at Sports Authority,
      Ms. Jones was enlisted to direct traffic into and out of the parking lot. It was not a
      difficult job and she handled it quite professionally. Then a Black male temp from People
      Ready approached her and told he she could not direct traffic. Only police officers were
      authorized to perform this function. He then attempted to direct traffic in her place. Some
      of the passing White sports fans were so alarmed by his verbal berating that they
      intervened and ran him off. The Ute Indians and their Black friends laughed hilariously
      when they saw the “privileged” Southern belle lifting heavy trash bags at Coors Field on
      overnight People Ready shifts. The Hispanic manager supervising trash removal on these
      shifts never failed to mention that he did not care what White people think. Ms. Jones was
      not allowed to talk on the job. People began to notice the abuse. On one occasion several
      White males who were acquainted with Ms. Jones’ problem had to escort her on the
      shuttle bus to get to a football game being played at the Boulder stadium and then had to
      escort her on campus to get to the job site. Could anyone perform at an optimal level when
      they had to work with racist monsters like these?

   13. What happened at the Bank One Arena in Broomfield? People Ready needed help
       cleaning up the stadium after a concert. Ms. Jones gladly accepted the job because she
       needed the money. She was paired with another White girl to scrub toilets and mop floors
       in the bathrooms. Everyone else, including the supervisor of the shift, was Hispanic. This
       is an enormous task, and it takes all night to do it. Ms. Jones and her partner worked
       quickly and tirelessly to get the job done by the 8 o’clock deadline the next morning. She
       was very courteous to the other staff members, did not complain about the enormity of the
       job, and completed the job on time. She was then called into the Hispanic managers’
       office at the end of the shift, severely reprimanded for some non-existent offense and told
       never to return. Then he refused to sign the time sheet. When Ms. Jones and her White
       companion got in their car to return home, the police had been called and they were
       escorted off the property by a squad car. Ms. Jones did not have any criminal record at that
       time, had not committed any crime or threatened anyone, and to this day does not know
       what gave rise to this treatment. Her White friend could not figure it out either. They had
       to spend several hours on the phone with the staffing agency to get paid. She has never
       returned to work at the Bank One Arena. In legal terminology this is called race-based
       blacklisting, and it has happened all too often without justification at People Ready and
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      other staffing agencies. Race-haters and race-baiters will oftentimes make things up to get
      even with or get rid of racial competition to keep the job for themselves.

   14. At some point People Ready sent Ms. Jones to clean RVs on a lot very close to the Federal
       Center Station in Lakewood. They also sent two Black men. Can anyone guess what came
       next? Was she called a “Nigger”? Of course. Did anyone do anything about it? Of
       course not. Did these two Black men criticize her excellent job performance the entire
       shift? Absolutely. Did she have to listen to sexually demeaning comments? You bet she
       did. Was she ever hired back to that job? Does anyone have to ask? No, she was not. How
       do traffickers ensnare their victims? As stated at the end of this report, if their targeted
       victim is not already helpless and desperate, they will create the circumstances to make
       them that way and move in for the kill. Traffickers will target stable housing situations,
       gainful or well-paid employment, educational opportunities, and supportive personal
       relationships-in other words, anything that will allow the victim to move up in society and
       end their dependence on them. The object of trafficking is complete control. District
       Attorneys will look at the degree of control the perpetrator had over the victim when
       deciding whether to prosecute it as a trafficking case or not. Targets are frequently
       separated from family, friends, and anyone else who could recognize what is going on and
       intervene. A “divide and conquer” approach works well for them. They attack the
       personal and professional reputation of the victim to ensure that future opportunities are
       cut off. They may label the victim an “alcoholic”, “drug abuser”, “whore”, “unreliable”,
       “troublemaker”, “gold-digger”, “racist”, “slow”, “incompetent”, or some other label to
       make the victim a less than desirable hire, and therefore easier to manipulate. They will
       stalk their prey at their job sites and spread nasty rumors to the management in an effort to
       have them fired. They will use false criminal accusations, harassment, intimidation, and
       violence to keep their victims “in their place”. Once the victim has been rendered
       unemployable and becomes homeless, they are in the trap. Unless law enforcement
       intervenes, there is usually no way out. 99% of human trafficking victims are never freed.
       Human trafficking is motivated by sex, greed, an insane desire to control, or for a source
       of cheap labor. Did she have trouble getting paid? You guessed it. Absolutely. It took
       several phone calls to finally see a paycheck. The victim’s mother, who is very familiar
       with this case, once made the statement “How many times do you have to start over?”
       How many times does she have to start over? How many cases does she have to report to
       the EEOC, how many lawsuits does she have to file in court, how many restraining orders
       does she have to seek, how many social agencies does she have to petition for help, how
       many law enforcement officers and security guards have to be dispatched, how many
       hidden cameras does she have to deploy, how many lawyers does she have to consult
       before it all just goes away? Can we please stop this? Thank you.


   15. Ms. Jones was not allowed into the Rolling Stones concert in Denver on August 10, 2019,
       because she arrived 5 minutes late. The Hispanic manager on duty stopped her at the back
       entrance and would not let her in. Traffic was severely congested that day due to the
       concert and the buses were running behind schedule. She did call People Ready and
       apprise them of the situation. They told her on the phone it would not be a problem. The
       Hispanic female manager on duty at the back gate still would not allow her in even
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      though other non-White late arrivals were allowed in. Ms. Jones had been a passionate
      fan of the Rolling Stones since her youth. Being assigned to ground security at a Stones
      concert front and center of the stage was one of the most joyous events of her life. She
      had waited 40 years to see them in person. She broke down in tears, but the Hispanic
      manager was not moved and would still not allow her in. She was very hurt and
      disappointed and completely disillusioned that anyone could be that cruel.



   16. Ms. Jones was DNR’d (do not return) by Argus at the last Bronco’s game of the season
       on 12-29-2019 because she did not want to go through purses and pat people down at the
       security gate. She is Islamic and did not feel comfortable touching other people’s bodies
       in intimate places. Wanding is OK because it does not involve touching. She had always
       been assigned to wanding on previous jobs. She explained this to the manager on duty
       (name unknown) but rather than assigning her to another job, and plenty were available,
       he sent her home without pay and she was permanently barred from doing any further
       jobs for Argus. She was not told beforehand what her assignment would be. That is
       determined on the job site by the on-duty manager. She did explain her reason for
       disliking security to the manager on duty at Sports Authority Field. Managers know or
       should have known that they must accommodate religious differences. Religion is a
       specifically protected category under civil rights law. He had no excuse.



   17. -Back in November of 2017 the Labor Ready office in Aurora, Co. sent the Plaintiff to
       work the Salvation Army kettle at a Walgreens at 24250 E Smokey Hill Road. There was
       no bucket at the store when she arrived, and she had to wait an hour for them to bring it
       in. She had no minutes available on her personal cell phone, so she had to use the store
       phone several times to call the Salvation Army and tell them to bring the bucket. The
       store manager had given her permission to use the store phone. She also had to use their
       phone to get a bus schedule to get home and once again had full permission from the
       store manager. She also asked the store manager to let her use the microwave in the
       employee break room to heat up her lunch and he once again gave her permission. When
       she returned the next day, she was notified that her shift had been cancelled because of
       excessive use of the store phone and unauthorized use of the employee break room. The
       Smokey Hill location was a two-hour bus ride from where she lived downtown but
       People Ready only paid her for two hours. It is worthy to note that all the employees at
       the Aurora, Co. People Ready branch that dispatched her to this job were black including
       the manager, Elliot. The Plaintiff is White.



   18. The Plaintiff was dispatched out of the Thornton People Ready store to ring the Salvation
       Army kettle once again during the Christmas season of 2018. The kettle is placed in front
       of the outside door directly under a security camera. Once the customer places the money
       in the pot, it cannot be removed without the key. The bell ringer must place the pot
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       behind the customer service counter any time she goes to the restroom, takes a break, or
       leaves her station for any reason. The customer service counter has approximately 6
       security cameras overhead. The cameras would clearly show the Plaintiff returning the
       kettle at the end of her shift and strictly following the guidelines for storing it behind the
       counter on breaks. Ms. Jones followed all these guidelines religiously. The day after the
       bell ringing season ended, she was called by a Hispanic manager at People Ready
       inquiring as to what had happened to the kettle. They claimed they could not find it and
       wanted to accuse the Plaintiff of stealing it. Once confronted with the camera situation,
       they had to back off. It could have so easily been proven that they were lying. No non-
       White employees were similarly treated. The Plaintiff was singled out for these kinds of
       abuses because of her race-White. After looking at all these incidents together, a very
       distinct pattern emerges. They specifically target Ms. Jones because of racial and ethnic
       stereotypes of the White people and a desire to get even for perceived social injustices.
       This happened with such frequency and predictability it could only have been done on
       purpose. The management and staff at People Ready screwed up almost every job Ms.
       Jones worked in some manner. Nobody could be that incompetent unless they were
       trying.

   19. As bad as the scenarios above truly are, they are only the tip of iceberg. If the Plaintiff
       were to explain every racial slight, every “microaggression”, every threat, every
       discriminatory action, every hate-crime, every racially motivated setback, every racially
       orchestrated attack, every insult that she had experienced in the last twenty years, it would
       take up a 500-page volume. Her case is not one of just racial discrimination but outright
       racial persecution. The Plaintiff will supply many more examples these violent and
       discriminatory practices, but due to filing deadlines, cannot do it at this time.



CLAIM THREE: FAILURE TO PROMOTE, FAILURE TO TRAIN FOR MORE
RESPONSIBILITY AND BETTER JOB ASSIGNMENTS, FAILURE TO ASSIGN PLAINTIFF
TO BETTER PAYING (OFTEN TIPPED) JOBS BECAUSE OF HER RACE, ETHNICITY,
SEX, AGE, DISABILITY, PERSONAL LIFESTYLE, OFF-DUTY LEGAL ACTIVITIES AND
POLITICAL STANCES, FAVORITISM TO PEOPLE OF OTHER NATIONAL, ETHNIC,
POLITICAL AND LIFESTYLE GROUPS: The Plaintiff worked for People Ready for over 10
years. The Plaintiff has extensive experience in the hospitality industry including jobs as a server,
busser, banquet server, bartender, steward, cashier, light cook, prep cook, housekeeper,
dishwasher, taxi driver, host, tour guide, entertainer, salesperson of luxury tours and vacation
condos, ticket taker, floor security, gate security, ground transportation, conventions, and world
traveler. She has been an employee at some of the finest casinos, restaurants and hotels in the
United States including the Ameristar Casino in Blackhawk, The Monarch Casino in Blackhawk,
the Grand Z and Golden Gate Casinos in Blackhawk and Central City, the El Tovar in the Grand
Canyon, and the five-star Lake Hotel in Yellowstone National Park. She has worked numerous
assignments at most of the major hotels in downtown Denver and the Denver Tech Center. She
has worked massive conventions and corporate events all over the Denver Metro area and the
Colorado Convention Center. She worked as a salesperson for the largest tour operator in the
world-Globus and Cosmos Tours, headquartered in Switzerland but operating its’ US
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headquarters in Littleton, Co. She studied International Business at Auburn University,
Hospitality, Tourism and Events at the Metropolitan State University of Denver, Computer
Applications at the Community College of Denver, Denver University, Emily Griffith Technical
College, and Southeast College of Technology. She even did a study abroad in the Czech
Republic while a student at Metro State, studying some of the best hospitality venues in the world.
Yet, People Ready refused to assign her to anything except the most menial jobs they had
available, assigning far less qualified people to the lucrative and career advancing jobs based on
cronyism and racial, ethnic, political, and sexual orientation favoritism. A person with the
qualifications of the Plaintiff should not be permanently stuck in jobs picking up the garbage off
the stadium floor after football games and concerts. Her abilities and knowledge would have been
much better utilized elsewhere. People Ready and many other employers in the Plaintiff’s past
have attempted to use her livelihood and career to advance their own social agendas and force her
to conform to their political stances and lifestyle choices or face social ostracization and
blacklisting. It is time for this nonsense to stop. The Plaintiff is under no obligation to any
employer to conform to their political beliefs, lifestyle, or religious orientation as a term or
condition of employment. The Plaintiff will no longer be used as a scapegoat for societies’
shortcomings. She is not a martyr for humankind, nor should she be required to become one as a
term or condition of employment. She will not be nailed to a cross to atone for the sins of
humanity. No employer, social or political agenda, religious organization, or special interest
group will blame her skin color for their own failures. They will no longer use racial guilt as an
excuse to traffick or enslave her. Their race hate and bigotry will no longer dictate her career. It
is the Plaintiff’s turn to be free at last.

CLAIM FOUR: FAILURE TO ACCOMMODATE DISABILITY:
The Plaintiff suffers from Post-Traumatic Stress Disorder after many years of being forced to live
in low income areas where she was both the minority and the frequent victim of racial hate
crimes. The Plaintiff lived in a Denver Housing Authority property for many years and witnessed
racial violence up close and personal. From the first day that Alison D. Jones moved into DHA
property, the Black neighbors blasted extremely loud and racially inflammatory rap music
through her walls to the extent that she could not sleep, relax, or function. They began to shoot
guns outside her back door, attempted to run over her while taking out her trash, lit fires in the
Dempsey dumpster next to her apartment, pointed loaded rifles at her back while getting into her
truck, called her a “Nigger” every time she walked outside her front door, threatened to shoot her
with a 9mm for parking in “THEIR” parking space on a public street. They stood outside her
doors at weird hours of the day and night, openly discussed how they would divide her property
once they managed to get her evicted, made up insane lies such as claiming she exposed herself
on her front porch one morning, stalked her in grocery stores and at her church, and generally
made her life a living hell. They stole her truck and went joy riding with it, dropping it off two
weeks later a side street. The Plaintiff had to spend several thousand dollars to restore it to
working order. They even stole her $2 welcome mat she had purchased at Wal-Mart. The flowers
and bushes she planted outside her apartment at her own expense lasted one day. They were dug
up and relocated to other residences in the middle of the night. They taunted her when she
delivered pizza to their door, asking why she had to leave in such a hurry. Did she have a problem
with Black people? Was she scared? No, she had to make a living. Her truck was severely
vandalized when she did not have the time to give a Hispanic resident a battery charge on a pizza
delivery. Although the Plaintiff lived exactly like other residents, they still blamed her race and
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skin color for their condition in life. Ms. Jones had never said so much as said an unkind word to
any of them, yet her “racism” was the sole reason they lived in this public housing hell and drew
welfare. One of their favorite questions was “How does it feel to be a nigger?’ If only she would
stop “oppressing” them, they would all live in a half a million-dollar mansion and drive a Rolls
Royce. Oh, those evil White people! The Plaintiff lived in close proximity to murders, gang wars,
rapes, property vandalism, arson, gunshots, racial hate crimes and racial retaliation. The joke in
the neighborhood was why waste your money on cable TV when you can just open your curtains?
She was hospitalized three times and nearly died due to the excessive stress and anxiety attacks
brought on by being forced to live in a racially hostile environment where people expected her to
accept being trafficked, while law enforcement blatantly ignored human trafficking laws. Some
residents were even selling their own teenage daughters into prostitution on W. Colfax. Yet,
whenever she complained about it to the management, they only called her a racist and did
nothing to stop it. By their inaction, they encouraged the behavior. The SWAT team had to be
called in numerous times. Ms. Jones came home from work one afternoon to a smoldering
battlefield of burning furniture, smashed windows and doors, trash and debris strewn all over the
place. The only thing missing were charred remains. People were literally being dragged to squad
cars and carted off to jail. No, it was not the Army. It was the SWAT team. Yet, DHA was never
charged with anything. No person could live with the double standards and insane racial bigotry
of the Denver Housing Authority without permanent mental scars. Sadly, the Plaintiff is no
exception. After years of mind-numbing violence and racial abuse in the projects, the Plaintiff
developed PTSD. She was unable to contain her anger and irritation with the incompetent
management of Jax and other the other racist managers at People Ready. She become upset when
they refused to pay her. Jax at People Ready interpreted this behavior as insubordination and
terminated her employment. This was not the first time that People Ready had withheld pay. It
had become a common occurrence. Considering the circumstances under which Alison lived and
the ensuing PTSD (considered to be a disability), People Ready had no legal right to call her
outburst insubordination or use it against her. People Ready was clearly in violation of the law
when they did not pay her for the job.

CLAIM FIVE: DIFFERENT TERMS AND CONDITIONS OF EMPLOYMENT: The Plaintiff
was treated very differently and offered quite different opportunities based on her racial and
ethnic identity. Once again, the racist assumption in the United States is that White people are all
privileged and non-White people are all oppressed. People Ready shared this outrageously biased
philosophy and showed no shame about openly discriminating against the Plaintiff because she is
White and openly showing preferential treatment to non-Whites. This started at the bottom and
went all the way up to management. Other employees were not:
    • Repeatedly called a “Nigger” on most of their jobs.
    • Removed from jobs because they were being stalked by violent gangs.
    • Terrorized by stories of horrific murders committed by violent gang members.
    • Threatened with physical violence for “disrespecting” a Black man when they had not said
        a word.
    • Repeatedly denied pay for work performed.
    • Relegated to jobs at the bottom of the pile with 20 years of hospitality experience and a
        college degree.
    • Denied entrance to jobs because they were five minutes late when no other employees
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       were similarly denied.
   •   Forced to go to work under police protection or assigned a security guard because of racial
       violence.
   •   Denied advancement despite an incredibly good work history.
   •   Falsely accused of theft.
   •   Continuously ridiculed because of their racial and ethnic identity.
   •   Permanently denied employment for exercising a religious right.
   •   Adversely impacted by employment decisions made based on personal lifestyle.
   •   Denied the right to talk on a job.
   •   Had to have a Marine stand guard over them while working a concession booth at a
       baseball stadium.
   •   Need we list more?

CLAIM SIX: SEXUAL HARASSMENT/SEXUAL DISCRIMINATION/QUID PRO
QUO/TRAFFICKING: American society has become so obsessed with total racial integration
that in some ways it meets the legal standard for human trafficking. White people in general and
White women in particular, no longer have full decision-making authority over their own lives or
personal relationships. Your career, your income, your upward mobility, your social standing,
your reputation, all depend on how well-integrated you are with other racial, ethnic, and cultural
groups. We all have a right to work, use public facilities, get an education, live free from fear and
harassment, and freely choose with whom we associate, but when you are FORCED to be in
personal relationships as a term or condition of employment or when employers or co-workers
believe that they have a right to choose the color of your sexual partners as a term of condition of
employment, it is most definitely sexual discrimination and could even qualify as human
trafficking. NO woman should ever be required to date or provide anyone with sexual favors to
hold down a job. NO person should ever be made to feel that their cultural or ethnic identity has
no right to exist. The pressure on White women to date, marry and have sexual relationships
outside of their own racial or ethnic group is enormous. The Plaintiff was repeatedly stalked by
interracial couples both on and off her jobs at People Ready. These interracial couples never
failed to stop at whatever workstation she was assigned to, rub all over each other in very intimate
spots, kiss very heavily and inappropriately for a work environment, and sneer at Ms. Jones in
utter contempt. They would even follow her into the Central Library downtown and have
extremely loud conversations behind her back while she was studying for licensing exams, pound
their fists very heavily on the computer desks and start fights at her computer table, yell at her to
stop staring if she happened to glance in their direction, and sit next to her computer terminal to
be able to spy on everything she accessed on the internet. They would walk into the fourth-floor
computer lab and scream at the top of their lungs that they had just been released from prison.
The homeless ones would come in smelling like garbage and wait as long as it took to sit next to
her computer station to instill guilt for her “White privilege.” Computer use in the public libraries
is free. You do not have to be “privileged” to access them. They hacked into her personal cell
phone and personal computer. Mexicans would lay in wait at the bus stop right outside the
Central Library and offer Ms. Jones whiskey, marijuana, and money for sex to see if they could
find some way to attack her moral character. Traffickers try to justify their own behavior by
passing the blame onto the victim. If they can convince others that she is of low moral character,
they are off the hook. Sadly, it works all too often, even in the court system where the judiciary
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should know better. Ms. Jones is not of low moral character. Some people might consider two
drinks before bedtime pushing the envelope, but she has no other “vices”. The Hispanic women at
various job assignments with People Ready, such as the kitchen detail at Coors Field or Sports
Authority, loved to show her cell phone pictures of their Black boyfriends and brag about the
enormous size of their body parts. Many different Hispanic women did this on many different
occasions on many different jobs both with People Ready and other staffing agencies. It is
obvious they were acting in conjunction with each other to harass Ms. Jones. The implications of
their actions were very clear-date Black men or lose your job. One young Black transgender to
female People Ready temporary employee made sure to be assigned to every job Ms. Jones
worked at the Western Stock Show complex, desperately hoping to catch her doing anything that
could be attacked as discriminatory. Monica was a delightfully entertaining person to work with,
and Ms. Jones became very fond of her, looking forward to the joint assignments. Yet, it almost
amounted to stalking. Monica would even follow Ms. Jones into the bathroom and cling to her at
every juncture. People Ready made sure that Monica and Ms. Jones always got assigned to the
same jobs, including working an Easter celebration at a country club in the mountains. Once
again, Monica and her gay sidekick, James, were very funny people and a joy to work with,
always leading to a memorable assignment, but we have to wonder if the religious people at the
Easter event with their families and children really appreciated the gay comments like the one
from James directed to Monica, “Bitch, it’s time to go. Go grab your purse!”, or James passing
around cell phone pictures to the staff that showed sandwiches in a deli cooler shaped into
vaginas. The Muslim past did not like Ms. Jones working with gay people and began to stalk her
carpool home with James and Monica. Thankfully, no one was harassed or hurt by them, but it
demonstrates the authority they felt they still had over Ms. Jones. There were no more shifts with
Monica or James after the stalking incident. Can you see how the racial and ethnic obsessing over
Ms. Jones became so pervasive and disruptive of her working life that it created a hostile and
unnavigable work environment? Could anyone ever imagine it would be this difficult just to go to
work every day? Can you imagine having to be escorted by a police gang unit or assigned an
undercover security detail just to have a job?

The conduct complained of in this claim involves the following: (heck all that apply)
            failure to hire                   X different terms or conditions of employment

        X failure to promote                   X    failure to accommodate disability

        X termination of employment            X retaliation

       X other: possible human trafficking
Defendant’s conduct was discriminatory because it was based on the following: (check all that
apply)

        X     race            X     religion         X     national origin         X     age

        X     color           X      sex             X     disability

The following statement is copied directly from the FBI website, human trafficking section, found
at fbi.gov/investigate/violent-crime/human-trafficking:
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Of particular concern to us is the section stating “Here in the United States, both U.S. residents
and foreign nationals are bought and sold like modern-day slaves. Traffickers use violence,
manipulation, or false promises of well-paying jobs, or romantic relationships to exploit
victims. Victims are forced to work as prostitutes or take jobs as migrant, domestic,
restaurant or factory workers with little or no pay. Human trafficking is a heinous crime
that exploits the most vulnerable in society.



The Plaintiff is not accusing People Ready of human trafficking per se (unless, of course, they are
guilty), but her experiences there are part of and representative of the human trafficking problem
that she has experienced in every facet of her life for several decades. As explained by the FBI,
the National Human Trafficking Resource Center, and other credible sources familiar with
modern-day slavery, traffickers use violence, threats of violence, fraud, force, or coercion to pull
in and terrorize their victims. They target the most vulnerable in society-the homeless, the poor,
the unheard. If their targeted victim is not already helpless and desperate, they will create the
circumstances to make them that way and move in for the kill. Traffickers will target stable
housing situations, gainful or well-paid employment, educational opportunities, and supportive
personal relationships-in other words, anything that will allow the victim to move up in society
and end their dependence on them. The object of trafficking is complete control. District
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Attorneys will look at the degree of control the perpetrator had over the victim when deciding
whether to prosecute it as a trafficking case or not. Targets are frequently separated from family,
friends, and anyone else who could recognize what is going on and intervene. A “divide and
conquer” approach works well for them. They attack the personal and professional reputation of
the victim to ensure that future opportunities are cut off. They may label the victim an
“alcoholic”, “drug abuser”, “whore”, “unreliable”, “troublemaker”, “gold-digger”, “racist”,
“slow”, “incompetent”, or some other label to make the victim a less than desirable hire, and
therefore easier to manipulate. They will stalk their prey at their job sites and spread nasty rumors
to the management in an effort to have them fired. They will use false criminal accusations,
harassment, intimidation, and violence to keep their victims “in their place”.

Trafficking victims may be employed and earning money but have no control over how it is spent.
Victims may be getting paid but are getting paid far less than someone else would get paid for the
same job or get paid far less than what the job is worth. Traffickers may arrange to have the
victim paid less and pocket the difference. The employer may withhold earned commissions for
some contrived reason, convincing the employee they will be rewarded with a better job or higher
pay down the road (which, of course, never materializes). They may withhold money earned in a
tip pool, claiming for example, that temporary employees are not allowed to participate, and keep
the reward for themselves. They may come in behind tipped employees and claim they are
collecting the tips to be “fairly distributed to all employees” at the end of the shift only to keep the
lion’s share for themselves. They may charge employees for things that other employees are not
charged for such as employee meals or uniforms and keep the money. They may charge or
overcharge employees for transportation to and from jobs that other employees are not required to
pay, such as requiring casino employees to pay for casino shuttle transportation to and from the
mountain job site. If they have the good fortune to hire a particularly gullible employee, they may
even convince them that they deserve to be treated this way as some sordid form of “social
justice” for real or imagined past grievances. There is no end to the creativity of the criminal
mind. And let us not forget the oldest of all the cons-you have to sleep with somebody to work
here. The Plaintiff has experienced all these con game scenarios on her various jobs with People
Ready at some time or another. Modern-day slavers have learned to cover their tracks so there is
no outward appearance of wrongdoing while their victims cower in fear and live in undeserved
poverty.

Victims are steered to jobs that are far below their educational or skill level, paid far less than
what they deserve, and often discouraged from asking for help or even aware that help is
available. They may even be fearful of their lives if they do ask for help. Oftentimes, court
intervention is their only hope. Hence, filing these types of lawsuits becomes paramount to their
freedom. Sadly, law enforcement does not always recognize human trafficking for what it is or
fails to prosecute it when they do.

For the current victim, Alison D. Jones, the terror was racially motivated, an attempt to eke out
“racial justice” at her expense. She was stalked, sexually assaulted, terrorized, threatened, had her
property vandalized, stolen and destroyed, forced into personal relationships not of her own
choosing, offered drugs repeatedly against her will, accused of crimes she did not commit, thrown
out of housing based on frivolous charges, grossly underpaid, denied advancement, steered into
positions below her capability, all based on some misguided vigilante justice that blamed her for
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past oppression and injustices committed against non-Caucasian people. Most of these crimes
were never prosecuted. Trafficking victims are rarely afforded the same protection under the law
as other groups, which may explain why they are trafficking victims. The previous list of offenses
was not necessarily committed by People Ready management but are explanatory of the general
environment of hate and blame she was forced to endure for years, a mentality that spilled over
into her employment with People Ready and often made it a dangerous place to work. Bear in
mind that the people who commit these atrocities are not always non-White. Other White people
can be just as brutal if they believe their victim is somehow not “woke” enough for their
standards. We see this in the news daily. Group mentality will pounce on an innocent victim if
they believe it will elevate their status in the group in some way.

The tragedy of all of this is that the victim is herself 25% Native American, having a grandfather
who was a pure-blooded Cherokee on her father’s side. (She recalls being persecuted as a child
for being a “half-breed”). Her maternal ancestral roots are predominantly Irish, millions of whom
were sold into slavery in British colonies all over the world, including North America.




She was herself married to a practicing Muslim for 5 years and lived in an exclusively Muslim
community for 8 years. She lived in a predominantly Hispanic community for 9 years and has
good Hispanic friends. Yet, despite that and the fact that she is herself a trafficking victim, she is
frequently called a “racist” or “White supremacist” by Native Americans, Muslims, and Hispanics
alike when it becomes politically expedient for them to call her that and sometimes targeted for
racial hate crimes, both on and off the job. Ask the Denver Police Department and SWAT teams
what happened between 2006 and 2015 around 13th and King and Lowell Streets in Denver, Co.

While People Ready cannot be held liable for activities or crimes that occur off their job sites, it is
important to understand this backdrop to understand what happened at People Ready and why.
Unfortunately, problems in society too often work their way into the workplace, often with tragic
consequences. The Plaintiff’s career was destroyed in its entirety by “political correctness”. The
slightest word or deed was evaluated for its “secret” racial intent and meaning and used to slowly
strangle the life out of her career chances, both at People Ready and at other places of
employment. The Plaintiff will give a brief description of events occurring in her personal life
that affected her employment at People Ready, condensed accounts of racial abuses on other jobs,
and will also recount incidents of discrimination and intimidation on People Ready assignments.
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All of this gives an overview of the racial and ethnic climate in which the Plaintiff is actually
expected to make a living. Could anybody survive and thrive in this environment?

People Ready may argue that they were not aware of these incidents, but that is simply not true.
Management did itself make many of the discriminatory decisions and assignments. The Plaintiff
also reported it to the Human Resources Department in Tacoma, WA. An exact copy of that
complaint is included at the end of this dialogue. She also made anonymous complaints in
writing, so as not to jeopardize her own employment. She was also forced to make numerous
complaints over the years to the Department of Labor for the failure of People Ready to pay her
for jobs she had worked. The Plaintiff can obtain these complaints through the Freedom of
Information Act if necessary.


THE FOLLOWING IS AN EXACT COPY OF THE COMPLAINT FILED WITH THE
HUMAN RESOURCES DEPARTMENT OF PEOPLE READY IN MAY OF 2020
DESCRIBING THE DISCRIMINATION AND HARASSMENT THAT WAS OCCURING AT
THAT TIME. THE MANANGEMENT AT PEOPLE READY CANNOT CLAIM THEY
WERE NOT AWARE OF THIS ABUSE:

May 25, 2020

Collette Nelson-Hayward

Human Resources

1015 A Street

Tacoma, WA 98402

Dear Ms. Hayward:

To outsiders Denver seems like a peaceful, harmonious place where different cultural and ethnic
groups co-exist in perfect unison. If you live here long enough, however, a different portrait
begins to emerge. Denver is actually sharply divided on the issue of ethnic identity and cultural
conflict abounds. One of the major pastimes here seems to be finding someone else to blame for
one’s place in life and that blame is usually assigned based on race or ethnic identity. I am
myself a victim of this mentality. I have experienced enormous harassment over the years
because of my place of ethnic origin and the massive stereotypes and profiles that surround it-the
American South.

People here have an erroneous view that because of my skin color (white) and my place of
national origin (the American South), I somehow possess a magical, mysterious power to dictate
the outcome of their lives. I have been blamed for everything from Ku Klux Klan lynching’s to
minority unemployment rates. The truth is I am out here struggling just as hard as they are.
Denver is a very expensive place to live. I can assure you I have never known anyone in the Ku
Klux Klan, and I have no control of the financial condition of other people’s lives. Yet the
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finger-pointing, race-baiting, race-obsessing never ends. Their fanaticism to “punish the South”
is almost religious in its zeal. It has cost me hundreds of thousands of dollars in lost employment
income and important personal relationships.

This “holy crusade” has taken the form of stalking, property vandalism, name calling, racial
slurs, gunshots, sexual assault, housing discrimination, employment discrimination, falsifying
grades at my university, frivolous lawsuits, and false criminal accusations. If I outperform or
over-achieve ethnic groups, it is attributed not to my ability or talent but to racial privilege. They

must keep me at the same level as everyone else to avoid claims of racism even when that means
racially discriminating against me. I am not allowed to assume greater responsibility or to move
up the ladder. This fanatical race-obsessing has spilled over into my places of employment and
has cost me numerous jobs including my job at People Ready. I was unlawfully terminated from
my job at People Ready in Denver in retaliation for arguing with a Hispanic manager who
illegally refused to pay me. I am asking to be reinstated and financially compensated for the jobs
they discriminatorily cut me from for no reason other than their own racism.

I have plenty of credible witnesses that this harassment is taking place. This is not simply a
matter of my word against theirs. I have had to live under police protection, the SWAT team has
visited my neighborhood numerous times, people have been arrested, and my case is now under
investigation by the FBI Human Trafficking Division. This is the backdrop against which I have
to go to work every day.

Let us get to People Ready and the events that led up to my termination. I have worked for
People Ready for over 10 years and for the most part it has been a positive experience. People
Ready is by far the most convenient system for daily pay work. I love Job Stack and the pay card
is fantastic. We do need to be able to submit hours in the app rather than a paper pay sheet. We
also need an UNDO button in case we accidentally remove ourselves from a job we meant to
keep or add ourselves to a job we did not. Paper pay sheets are part of where my problem started.

The most recent bout of discrimination started in April of 2020 out of the People Ready office at
1340 S Sante Fe in Denver, Co. I lost my warehouse job in March of 2020 due to the corona
virus. People Ready was offering numerous shifts sanitizing the various King Soopers grocery
stores in the area. I was very happy to get these shifts because that was the only thing available. I
have always been a very hard worker, courteous to staff and customers alike, and reliable. With
rare exception I have always been welcome back to any job. The management at King Soopers
frequently complimented me on the good job I was doing, and customers greeted me with “God
bless you” and “Thank you for the good job you are doing.” I felt good about helping people to
be safe from the corona virus. In spite of the positive feedback People Ready

started removing me from these jobs due to the unwelcome racial and ethnic harassment I was
receiving at these job sites. Remember, this is a human trafficking case. People from my past-
Muslims, Hispanics, Blacks-have frequently stalked and harassed me at work sites, thinking that
I am obligated to include them in every aspect of my life because of my race. I reported this to
the FBI in May of 2017 as a racial hate crime/human trafficking case. The FBI has worked
undercover at some of my job sites. The race-obsession crowd has in times past spread nasty and
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untrue rumors about me at work and in the process cost me much earned raises and promotions.
This case was no different. Their vindictiveness against me for offenses I did not commit and of
which I am not guilty never seems to have an end. Their retaliatory actions are motivated by
racial stereotypes of the South. Some people are still fighting the Civil War. I was not allowed to
return to LKQ Body Parts at 6100 Federal Blvd. after an Islamic customer came in and started a
fight with the management over a business dispute and the fact that they allowed me to work
there. (In extreme Islamic cultures, women are not allowed to work out of the home. My ex-
husband is Islamic, and many Muslim men believe they still have authority over the women in
their lives even after a divorce. I have been stalked by these people since my divorce in 1985. It
has cost me a fortune in lost employment opportunities.} The FBI has witnessed this process at
work on some of my other jobs. They have actually placed undercover FBI agents on some of
my previous work sites (not with People Ready). These detractors use the “racism” argument to
control where I work and with whom I socialize. They think that because I am from the South, I
am an easy target for their con games. I witnessed them congregating in the parking lots of some
of the King Soopers where I was assigned and stalking me at nearby bus stops. The police were
called to at least one of these locations at 101 Englewood Pkwy. in Englewood, Co and had to
stand guard in the parking lot for most of the shift. The following is copied from the FBI website
at Human Trafficking/Involuntary Servitude — FBI. My case falls under the involuntary
servitude aspects of human trafficking law-being forced into jobs that are far below my
capabilities and paid obscenely less than what they are worth. People Ready is definitely guilty
in this regard. They have ridiculed me on jobs, subjected me to racial profiling and associated
harassment, micromanaged me, belittled my abilities and education, refused to promote me,
refused to train me for better positions, taken me off of jobs

for discriminatory reasons, blocked me from returning to jobs for discriminatory reasons, failed
to pay me for jobs, and all in all treated me very differently because of my race and ethnic
identity. They ultimately terminated my employment for discriminatory and illegal reasons-racial
and ethnic profiling and retaliation for demanding to get paid in a timely manner. I can acquire
the numerous Department of Labor complaints I have filed over the years after failing to get paid
for various shifts. I would have to go through the Freedom of Information Act so it would take
time.

Human Trafficking

Human trafficking is the illegal exploitation of a person. Anyone can be a victim of human
trafficking, and it can occur in any U.S. community—cities, suburbs, and even rural areas. The
FBI works human trafficking cases under its Crimes Against Children and Human Trafficking
program. We take a trauma informed, victim-centered approach in investigating these cases.

Here in the United States, both U.S. residents and foreign nationals are being bought and sold
like modern-day slaves. Traffickers use violence, manipulation, or false promises of well-paying
jobs or romantic relationships to exploit victims. Victims are forced to work as prostitutes or to
take jobs as migrant, domestic, restaurant, or factory workers with little or no pay. Human
trafficking is a heinous crime that exploits the most vulnerable in society.

Under the human trafficking program, the FBI investigates:
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§ Sex trafficking: When individuals are compelled by force, fraud, or coercion to engage in
commercial sex acts. Sex trafficking of a minor occurs when the victim is under the age of 18.
For cases involving minors, it is not necessary to prove force, fraud, or coercion.

§ Labor trafficking: When individuals are compelled by force, threats, or fraud to perform labor
or service.

§ Domestic servitude: When individuals within a household appear to be nannies, housekeepers,
or other types of domestic workers, but they are being controlled and exploited.

During the months of March and April of 2020 I was removed from the following shifts in spite
of glowing reports from the management:

-The King Soopers at 15594 E 12th in Aurora, Co. (1 week job)

-The King Soopers at 101 Englewood Pkwy in Englewood, Co. (2-week job)

-The King Soopers at 1650 E 30th in Boulder, Co. (1 week job)

-The King Soopers at 3801 E 120th in Thornton, Co. (1 week job)

-The King Soopers at 1950 Chestnut Pl. in Denver Co. (1 week job)

-The LKQ Parts Store at 6100 Federal Blvd (1 week job)

I was cut out of 7 weeks of work at King Soopers at $13.50 per hour for a total of $3,780 in lost
wages not including some hours that would have been overtime and 1 week at LKQ Body Parts
(What was communicated about this assignment ending) at $14.00 an hour for a total of $580 in
lost wages. Grand total-$4,330 not including overtime. (what were you told about your
assignment ending? Records show that you worked through more than one branch during this
assignment) Highlighted areas are questions the human resources office at People Ready asked
me. Eight months later, they have still failed to render a decision. I was told about my
assignment ending on the way to work. No advance warning.

Most of the discrimination is coming out of the Denver, Co offices at 1340 S Sante Fe (Hispanic
manager Jax) and 1490 Lafayette St (Black manager Brent). The final straw came out of the S
Sante Fe office with Jax. The very last job I worked for People Ready was at 7100 W 13th,
Lakewood, Co at the Courtyard Retirement Home. They sent us over there on April 11th and
12th to feed the elderly residents who were in quarantine from the corona virus. I forgot to bring
my paper pay sheet on Saturday the 11th but the manager on duty assured me that it was no
problem. She would just add me to another employee’s pay sheet. Problem solved. I did
remember to bring it the next day, Sunday April 12th. I took a picture of the pay sheet and texted
it to 1152-br@eopleready.com, the email address Jax had given me. On Monday I had not been
paid for either shift. I called Jax to complain. She claimed she had never received either pay
sheet even though she had. She also said she could not process the Sunday pay sheet because one
of the corners was missing in the photograph. The upper right corner was indeed missing but all
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the pertinent information such as store location, hours worked and management signature were
clearly visible. I can send you the picture. (Please forward a copy of the email you initially sent
the branch with the work ticket) The missing corner made no difference. When I pointed this out
to her, she then reiterated that I had not sent it to the right email address. I did in fact send it to
1152-br@peopleready.com and additionally sent it to 1151-br@peopleready.com as an added
precaution because I had used that address many times in the past. So now what excuse did she
invent? She said she could not receive pay sheets by text. Oh really? I have sent hundreds of
them by text over the years. She is the first manager ever at People Ready who cannot receive
text messages. I finally had to sent it by Gmail and finally got paid but only after arguing with
her on 15 calls. All I got were excuses, delays, foot-dragging. Rather than being professional and
solving the problem she was extremely rude. She yelled, consistently interrupted me when I was
trying to explain the situation, treated me like an idiot when I have two college degrees and 40
years in the work force (I am far more qualified to do her job than she is), wasted valuable time
giving information I did not need and already had, explaining the procedure when I have used
this procedure for over 10 years, condescended in every way imaginable, implying that I was
incompetent when in fact she was incompetent and so on. She was even more condescending
when I went to her office in person for a drug test, scolding me like a small child for not taking
the test correctly and then for touching something on the counter. I sanitized with sanitizer
solution as soon as I waked in full view of Jax. I have passed every drug test I have ever taken by
the way.

I mentioned in one of these calls that I would contact the Courtyard and just have them fax the
Saturday pay sheet over. She refused to give me the number even though that information is
readily available in their computer system. More excuses. Her take was that if the picture I had
sent her of the Sunday shift had been legible I would be able to see the number and call them
myself. I checked the photograph, could clearly see the phone number, called the Courtyard
myself and finally had them fax over the Saturday pay sheet. She lied and made excuses
throughout this whole process. Excuse after excuse as to why she could not just do her job and
pay me. This was not the only time she had done this. I have frequently had to call People Ready
over the years and complain and argue to get paid. I had to call Jax repeatedly from the 101
Englewood King Soopers location to get paid in a timely fashion only to get the same rude and
obnoxious attitude I got with the Courtyard job. I have had to file at least 3 wage and hour
complaints over the years with the Department of Labor to get paid and should have filed more.
It once took me 3 months to get paid for a construction clean-up job in Highlands Ranch, Co. We
are now forced to take pictures of all time sheets because we cannot trust them to pay us or to
pay us on time.

All of this is pretty bad, but sadly, it does not end here. Other incidents:

-I was not allowed into the Rolling Stones concert in Denver on August 10, 2019, because I
arrived 5 minutes late. The Hispanic manager on duty stopped me at the back entrance and
would not let me in. Traffic was severely congested that day due to the concert and the buses
were running behind schedule. I did call People Ready and apprise then of the situation. They
told me on the phone it would not be a problem. I saw them allow Hispanic employees in who
were also late.
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-I was DNR’d (do not return) by Argus at the last Bronco’s game of the season on 12-29-2019
because I did not want to go through purses and pat people down at the security gate. I am
Islamic and I do not feel comfortable touching other people’s bodies, especially in fairly intimate
places. I explained this to the manager on duty (name unknown) but rather than assigning me to
another job, and plenty were available, he sent me home without pay and I was permanently
barred from doing any further jobs for Argus. (when you accepted the assignment were you
aware of the duties? Did you make the branch aware of your concerns) Yes, I was aware of my
duties and did explain my reason for disliking security to the manager on duty at Sports
Authority Field.

-A Hispanic manager in the Thornton, Co office called me on the phone and accused me of
taking the Salvation Army kettle after I worked a shift at the Thornton Wal-Mart in December of
2019. Wal-Mart has cameras everywhere. In fact, they had a camera directly over the pot in the
doorway I was working. At that particular Wal-Mart, the kettle is turned in at the end of the shift
to the service desk. The film clearly showed me turning it in. False accusations are libel and
defamation and can result in lawsuits.

-Back in 2015 I was assigned to work a Wal-Mart in Englewood, Co, once again out of the 1340
S Sante Fe office in Denver. People Ready had to provide shuttle transportation to this job site as
many of their workers do not have cars. The driver, a young Black man named Andre, routinely
smoked pot while waiting to load passengers, offered it to passengers once on board, and
sexually propositioned female employees on the trip up the mountain. Once inside the store
working, one of their black employees repeatedly called me a “nigger” while on duty. The store
manager, an elderly white man in a wheelchair, would not allow any of the other employees to
talk to me and actually sent one home for cracking a joke within earshot of me. Rather than
correcting this obnoxious racial abuse, that same manager sent me upstairs to the storage area
and made me sweep the entire floor all by myself (all for minimum wage by the way). I reported
all of this anonymously to People Ready and never worked for that Wal-Mart again. The driver
was eventually fired.

-The same year as the Andre shuttle driver incident (2015), People Ready failed to pay me for
three shifts I recorded in my work diary and numerous others I did not record. I did not get paid
for a sign holding job I did for a Mattress Firm in Centennial, Co. (what was the date of this job
and which branch dispatched you) I had to wait 6 weeks to get paid for a T-Mobile job in
Centennial, Co. I did not get paid for a Home Depot job I did in Sheridan, Co and there were
numerous other jobs that year for which I did not get paid. I finally had to report it to the
corporate office. I talked to a young lady named Amber at extension 239# several different times
until I got paid. This same year Danielle at the S Sante Fe office threatened to get me fired for
calling the corporate office at extension 239# and reporting these pay issues. I advised her that
retaliation is a form of discrimination for which she can be sued. I was finally paid. (did you
report this to the manager, HR, or the Hotline and if so when? What as the outcome?

-Back in November of 2017 the Labor Ready office in Aurora, Co sent me to work the Salvation
Army kettle at a Walgreens at 24250 E Smokey Hill Road. There was no bucket at the store
when I arrived, and I had to wait an hour for them to bring it in. I had no minutes on my personal
cell phone, so I had to use the store phone several times to call the Salvation Army and tell them
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to bring the bucket. The store manager had given me permission to use the store phone. I also
had to use their phone to get a bus schedule to get home and once again had full permission from
the store manager. I also asked the store manager to let me use the microwave in the employee
break room to heat up my lunch and he once again gave me permission. When I returned the next
day, I was notified that my shift had been cancelled because of excessive use of the store phone
and unauthorized use of the employee break room. The Smokey Hill location was a two-hour bus
ride from where I lived downtown but Labor Ready only paid me for two hours. It is worthy to
note that all the employees at the Aurora, Co Labor Ready at that time were black including the
manager, Elliot.

-I was DNR’d (Do Not Return) from a Wal-Mart in Castle Rock, Co for trying on a pair of pants
in the dressing room when I was not on break. Admittedly, I should not have done that, but it did
not merit being denied employment in that store. It is a little strange that the store manager did
not have any problem with other employees calling me a “nigger” when I WAS authorized to be
on break. The Black temps on this job were screaming “nigger” in my face while on break but
the manager of the store did not seem to have any problem with that. Somehow that never got
mentioned.

-That same year Brad and Danielle at Labor Ready refused to send me text messages of available
jobs. Jobs were sent by text message before Job Stack. I had to call corporate to get them to give
me equal access to available jobs.

If you connect all the pieces of this puzzle together the motive becomes noticeably clear. They
are having their racial revenge at my expense based on stereotypical profiles they have of white
people from the South. I do not just deal with this at People Ready. I deal with it everywhere-
school, church, bus stops, personal vacations, libraries. You name it. It is a very familiar pattern,
and I am now reporting it to the FBI as a racial hate crime. I now use a police body camera
anytime I am in public. It will all be on film in the future. The real tragedy of all of this is that
my ancestry is Irish. My ancestors came to America in bondage. My ancestors faced enormous
discrimination and prejudice. I am myself a trafficking victim, not in the sense of prostitution but
forced marriage and unpaid labor. They could not have picked a more undeserving target for
their race hate than myself.

I demand to be reinstated with full compensation for missed assignments. I deserve to have all
DNR’s removed from my record as they were discriminatory. (Can you provide information to
support this claim?) Yes, from the Department of Labor. I also want the number to someone in
the corporate office I can contact personally whenever similar issues arise in the future. Your
cooperation is greatly appreciated. I hope to hear from you soon.

SINCERELY,

ALISON D JONES
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E.     ADMINISTRATIVE PROCEDURES

Did you file a charge of discrimination against defendant(s) with the Equal Employment
Opportunity Commission or any other federal or state agency? (check one)

        X    Yes (You must attach a copy of the administrative charge to this complaint)
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           No

Have you received a notice of right to sue? (check one)
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        X    Yes (You must attach a copy of the notice of right to sue to this complaint)


            No

F.     REQUEST FOR RELIEF

The Plaintiff demands full front pay and back pay, a full apology from People Ready, to have any
DNR’s (Do Not Return) designations removed, to be reinstated if she chooses to go back to work
for People Ready, and to be put on a fast track to the better and higher paying jobs that her
education, training, skills, and knowledge qualify her to perform. She demands to be compensated
in any way allowed by the laws contained in this complaint, and fully compensated by any future
laws that may be added in an amended complaint.
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G.     PLAINTIFF’S SIGNATURE

I declare under penalty of perjury that I am the plaintiff in this action, that I have read this
complaint, and that the information in this complaint is true and correct. See 28 U.S.C. § 1746;
18 U.S.C. § 1621.

Under Federal Rule of Civil Procedure 11, by signing below, I also certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending or modifying
existing law; (3) the factual contentions have evidentiary support or, if specifically so identified,
will likely have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Rule 11.


           Alison D. Jones
 (Plaintiff’s signature)

    6/18/2021
 (Date)


(Form Revised December 2017)
